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12
                                        UNITED STATES DISTRICT COURT
13

14                                    THE EASTERN DISTRICT OF CALIFORNIA

15                                               FRESNO DIVISION
16   GERALD CARLIN, JOHN RAHM, PAUL                   )        Case No. 1:09-CV-00430-AWI-GSI
17   ROZWADOWSKI and BRIAN WOLFE,                     )
     individually and on behalf of themselves and all )
18   others similarly situated,                       )        ORDER GRANTING DEFENDANT
                                                      )        DAIRYAMERICA’S REQUEST FOR
19                  Plaintiffs,                       )        JUDICIAL NOTICE
                                                      )
20           v.                                       )
21                                                    )
     DAIRYAMERICA, INC., et al.,                      )
22                                                    )
                    Defendants.                       )
23                                                    )
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                                       ORDER GRANTING DEFENDANT DAIRYAMERICA’S RJN

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                                 Case 1:09-cv-00430-AWI-EPG Document 206 Filed 01/07/15 Page 2 of 2

                             1                                                     ORDER
                             2            This matter comes before the Court on Defendant DairyAmerica’s Request for Judicial
                             3   Notice (the “Request”). Having considered the Request, papers submitted in support and any
                             4   opposition, and good cause appearing, the Request is GRANTED.
                             5

                             6   IT IS SO ORDERED.
                             7
                                 Dated: January 7, 2015
                             8                                                   SENIOR DISTRICT JUDGE

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DAVIS WRIGHT TREMAINE LLP




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                                                                  ORDER GRANTING DEFENDANT DAIRYAMERICA’S RJN

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